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                              UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

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IN RE ETHICON, INC., PELVIC REPAIR                             : CIVIL ACTION NO. 2:12-md-02327
SYSTEM PRODUCTS LIABILITY                                      :            MDL No. 2327
LITIGATION                                                     :
------------------------------------------------------------   : Judge Joseph R. Goodwin
This Document Applies To All Actions                           :
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                       PLAINTIFFS’ CERTIFICATE OF SERVICE OF
                        NOTICE TO TAKE ORAL DEPOSITION OF
                     DEFENDANT THROUGH DESIGNATED WITNESSES

         I hereby certify that on November 14, 2013, I filed Plaintiffs’ Notice to Take Oral

Deposition of Defendant Through Designated Witnesses electronically with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the CM/ECF

participants registered to receive service in this MDL.

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